        Case 2:24-bk-53688        Doc 38 Filed 04/28/25 Entered 04/28/25 15:22:28       Desc
                                 Ntc/Status of Closing Case Page 1 of 1
Form a0nclose
(Rev. 10/13)

                                        United States Bankruptcy Court
                                           Southern District of Ohio
                                             170 North High Street
                                          Columbus, OH 43215−2414


In Re: Ryan Firestone                                    Case No.: 2:24−bk−53688
       Sara Firestone
              Debtor(s)                                  Chapter: 13
SSN/TAX ID:
       xxx−xx−5122                                       Judge: John E. Hoffman Jr.
       xxx−xx−2500



                                  Notice to Trustee Regarding Status of Case

The above captioned case cannot be discharged and/or closed due to the following:


    No indication of the 341 Meeting Held

    Report of No Distribution or Final Report Needed

    Final Account (and Closing Certification, if applicable) Needed

    Other:



Dated: April 28, 2025

                                                         FOR THE COURT:
                                                         Richard B. Jones
                                                         Clerk, U.S. Bankruptcy Court
